       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 1 of 21




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MAXUM INDEMNITY COMPANY                      )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )      CIVIL ACTION FILE NO.
                                             )      1:18-CV-01236-ODE
COLLIERS INTERNATIONAL -                     )
ATLANTA, LLC, ALEXANDER                      )
DEITCH, and MATTRESS FIRM, INC.              )
                                             )
      Defendants.                            )

 DEFENDANT MATTRESS FIRM INC.’S ANSWER AND DEFENSES TO
                AMENDED COMPLAINT

       Defendant Mattress Firm, Inc. (“Mattress Firm” or “Defendant”) hereby

answers Plaintiff Maxum Indemnity Company’s (“Maxum” or “Plaintiff”) as

follows:

                                FIRST DEFENSE

      Plaintiff’s Complaint fails because Plaintiff fails to state a claim upon which

relief may be granted.

                              SECOND DEFENSE

      Plaintiff’s Complaint is barred due to lack of personal jurisdiction.
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 2 of 21




                                THIRD DEFENSE

      Plaintiff’s Complaint fails in whole or in part due to the defense of estoppel

and/or equitable estoppel.

                              FOURTH DEFENSE

      Plaintiff’s purported claims are barred due to failure of a necessary

condition.

                                FIFTH DEFENSE

      Plaintiff’s purported claims are barred by the doctrine of waiver.

                                SIXTH DEFENSE

      Plaintiff’s purported claims are barred because some or all of Defendant’s

claims are covered by the policy.

                              SEVENTH DEFENSE

      Plaintiff’s purported claims are barred in whole or in part because Plaintiff

consented to, authorized, approved, acquiesced to, and/or ratified the actions about

which it now complains.

                               EIGHTH DEFENSE

      Plaintiff’s purported claims are barred by the doctrine of laches.

                                NINTH DEFENSE

      Plaintiff’s purported claims are barred by the defense of assumption of risk.

                                         2
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 3 of 21




      Defendant reserves the right to assert such other defenses as may be

determined as discovery in this case proceeds.

      Subject to and incorporating herein by reference the foregoing affirmative

defenses, Defendant responds below to the numbered paragraphs of the Amended

Complaint (the “Amended Complaint”) in the same order in which they are

presented there.

                        PRELIMINARY STATEMENT

                                          1.

      The allegations in Paragraph 1 of the Amended Complaint contain legal

conclusions and descriptive information to which no response is required. To the

extent a response is required, Defendant denies the allegations contained in

Paragraph 1 of the Amended Complaint.

                                          2.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 2 of the Amended Complaint,

and therefore denies same.




                                         3
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 4 of 21




                                   PARTIES

                                         3.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 3 of the Amended Complaint,

and therefore denies same.

                                         4.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 4 of the Amended Complaint,

and therefore denies same.

                                         5.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 5 of the Amended Complaint,

and therefore denies same.

                                         6.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 6 of the Amended Complaint,

and therefore denies same.




                                        4
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 5 of 21




                                         7.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 7 of the Amended Complaint,

and therefore denies same.

                                         8.

      The allegations in Paragraph 8 of the Amended Complaint contain legal

conclusions and descriptive information to which no response is required. To the

extent a response is required, Defendant admits that Mattress Firm was joined as

an indispensable party defendant following the Court’s May 24, 2018 granting

Plaintiff’s Unopposed Motion for Leave to File Amended Complaint for

Declaratory Judgment.

                                         9.

      Defendant admits the allegations contained in Paragraph 9 of the Amended

Complaint.

                                         10.

      Defendant admits the allegations contained in Paragraph 10 of the Amended

Complaint.




                                        5
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 6 of 21




                         JURISDICTION AND VENUE

                                          11.

      The allegations in Paragraph 11 of the Amended Complaint contain legal

conclusions and descriptive information to which no response is required. To the

extent a response is required, Defendant denies the allegations contained in

Paragraph 11 of the Amended Complaint.

                                          12.

      The allegations in Paragraph 12 of the Amended Complaint contain legal

conclusions and descriptive information to which no response is required. To the

extent a response is required, Defendant denies the allegations contained in

Paragraph 12 of the Amended Complaint.

                                          13.

      The allegations in Paragraph 13 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant denies the allegations contained in Paragraph 13 of the Amended

Complaint.

                                          14.

      The allegations in Paragraph 14 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

                                         6
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 7 of 21




Defendant denies the allegations contained in Paragraph 14 of the Amended

Complaint.

                                         15.

      The allegations in Paragraph 15 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant denies the allegations contained in Paragraph 15 of the Amended

Complaint.

                          THE INSURANCE POLICY

                                         16.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 16 of the Amended

Complaint, and therefore denies same.

                                         17.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 17 of the Amended

Complaint, and therefore denies same.




                                         7
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 8 of 21




                                         18.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 18 of the Amended

Complaint, and therefore denies same.

                                         19.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 19 of the Amended

Complaint, and therefore denies same.

                                         20.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 20 of the Amended

Complaint, and therefore denies same.

                                         21.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 21 of the Amended

Complaint, and therefore denies same.




                                         8
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 9 of 21




                                          22.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 22 of the Amended

Complaint, and therefore denies same.

                                          23.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 23 of the Amended

Complaint, and therefore denies same.

                                          24.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 24 of the Amended

Complaint, and therefore denies same.

                      HISTORY OF CLAIM REPORTING

                                          25.

      Defendant admits that it filed a lawsuit against multiple defendants,

including but not limited to, Colliers International and Deitch, in Harris County,

Texas, Case No.: 2017-731196 (“Underlying Lawsuit”). Defendant is without

sufficient knowledge or information to form a belief as to the truth of the




                                          9
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 10 of 21




remaining allegations contained in Paragraph 25 of the Amended Complaint, and

therefore denies same.

                                           26.

      Defendant admits that it sent a letter to Colliers on March 30, 2016, a true

and correct copy of which appears to be attached to the Amended Complaint as

Exhibit “B.” Defendant states that the letter speaks for itself. To the extent the

allegations in Paragraph 26 misstate, misrepresent, or mischaracterize the contents

of the letter, Defendant denies the allegations contained in Paragraph 26.

                                           27.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 27 of the Amended

Complaint, and therefore denies same.

                                           28.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 28 of the Amended

Complaint, and therefore denies same.




                                          10
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 11 of 21




                                          29.

      Defendant is without sufficient knowledge or information to form a belief as

to the truth of the allegations contained in Paragraph 29 of the Amended

Complaint, and therefore denies same.

                                          30.

      The allegations in Paragraph 30 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 30 of the Amended Complaint.

                ALLEGATIONS IN UNDERLYING LAWSUIT

                                          31.

      Defendant admits that on October 30, 2017, it filed a complaint against

multiple defendants, including but not limited to, Colliers International and Deitch

(the Underlying Lawsuit). Defendant admits that a true and correct copy of the

complaint appears to be attached to the Amended Complaint as Exhibit “E.”

                                          32.

      Defendant admits that on December 19, 2017, it filed an amended complaint

against multiple defendants, including but not limited to, Colliers International and

Deitch, in the Underlying Lawsuit. Defendant admits that a true and correct copy

                                          11
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 12 of 21




of the amended complaint appears to be attached to the Amended Complaint as

Exhibit “F.”

                                          33.

      Defendant admits that the amended complaint in the Underlying Lawsuit

includes multiple allegations against the defendants in that case, including but not

limited to Colliers International and Deitch. Defendant states that the amended

complaint in the Underlying Lawsuit speaks for itself. To the extent the

allegations in Paragraph 33 misstate, misrepresent, or mischaracterize the contents

of the amended complaint in the Underlying Lawsuit, Defendant denies the

allegations contained in Paragraph 33.

                                          34.

      Defendant admits that the amended complaint in the Underlying Lawsuit

includes multiple allegations against the defendants in that case, including but not

limited to Colliers International and Deitch. Defendant states that the amended

complaint in the Underlying Lawsuit speaks for itself. To the extent the

allegations in Paragraph 34 misstate, misrepresent, or mischaracterize the contents

of the amended complaint in the Underlying Lawsuit, Defendant denies the

allegations contained in Paragraph 34.




                                          12
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 13 of 21




                                           35.

      Defendant admits that the amended complaint in the Underlying Lawsuit

includes various causes of action against the defendants in that case, including but

not limited to Colliers International and Deitch. Defendant states that the amended

complaint in the Underlying Lawsuit speaks for itself. To the extent the

allegations in Paragraph 35 misstate, misrepresent, or mischaracterize the contents

of the amended complaint in the Underlying Lawsuit, Defendant denies the

allegations contained in Paragraph 35.

                                           36.

      Defendant admits that the amended complaint in the Underlying Lawsuit

seeks various relief against the defendants in that case, including but not limited to

Colliers International and Deitch. Defendant states that the amended complaint in

the Underlying Lawsuit speaks for itself. To the extent the allegations in

Paragraph 36 misstate, misrepresent, or mischaracterize the contents of the

amended complaint in the Underlying Lawsuit, Defendant denies the allegations

contained in Paragraph 36.




                                          13
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 14 of 21




           COUNT I: DECLARATORY JUDGMENT
 NO COVERAGE FOR CLAIM REPORTING OUTSIDE OF REPORTING
                        PERIOD

                                         37.

       Defendant incorporates by reference its responses to Paragraphs 1-36 above

as if fully restated herein.

                                         38.

       The allegations in Paragraph 38 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 38 of the Amended Complaint.

                                         39.

       The allegations in Paragraph 39 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 39 of the Amended Complaint.




                                         14
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 15 of 21




            COUNT II: DECLARATORY JUDGMENT
      NO COVERAGE UNDER FORM P056 (08/11): DISHONEST,
    FRAUDULENT, CRIMINAL OR MALICIOUS ACT OR OMISSION

                                         40.

       Defendant incorporates by reference its responses to Paragraphs 1-39 above

as if fully restated herein.

                                         41.

       The allegations in Paragraph 41 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 41 of the Amended Complaint.

                                         42.

       The allegations in Paragraph 42 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 42 of the Amended Complaint.

              COUNT III: DECLARATORY JUDGMENT
         NO COVERAGE UNDER ENDORSEMENT E064 (1/1/2009)

                                         43.

       Defendant incorporates by reference its responses to Paragraphs 1-42 above

as if fully restated herein.
                                         15
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 16 of 21




                                         44.

       The allegations in Paragraph 44 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 44 of the Amended Complaint.

                                         45.

       The allegations in Paragraph 45 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 45 of the Amended Complaint.

                  COUNT IV: DECLARATORY JUDGMENT
                 NO COVERAGE FOR NEGLIGENCE CLAIM

                                         46.

       Defendant incorporates by reference its responses to Paragraphs 1-45 above

as if fully restated herein.

                                         47.

       The allegations in Paragraph 47 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 47 of the Amended Complaint.
                                         16
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 17 of 21




                                         48.

       The allegations in Paragraph 48 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 48 of the Amended Complaint.

           COUNT V: DECLARATORY JUDGMENT
 NO COVERAGE UNDER FORM P056 (08/11): EXEMPLARY DAMAGES

                                         49.

       Defendant incorporates by reference its responses to Paragraphs 1-49 above

as if fully restated herein.

                                         50.

       The allegations in Paragraph 50 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 50 of the Amended Complaint.

                                         51.

       The allegations in Paragraph 51 of the Amended Complaint contain legal

conclusions to which no response is required. To the extent a response is required,

Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 51 of the Amended Complaint.
                                         17
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 18 of 21




                                           52.

      Defendant denies that Plaintiff is entitled to any relief it seeks against

Defendant.

      In addition, Defendant denies any allegations in the Amended Complaint not

specifically admitted, denied, or controverted above, including, but not limited to,

any and all equitable relief claimed Plaintiff’s Amended Complaint.

      WHEREFORE, having fully responded to Plaintiff’s Amended Complaint,

Defendant respectfully requests the Amended Complaint be dismissed with

prejudice, judgment be entered in favor of Defendant, and that all costs and

Defendant’s expenses and attorney’s fees be taxed to Plaintiff, and any such further

relief as the Court may deem just and proper.

      Respectfully submitted, this 3rd day of July, 2018.

                                        /s/ Michael A. Boutros
                                        Jeffrey D. Horst
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                                           18
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 19 of 21




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Defendant Mattress Firm, Inc.’s Answer

and Defenses to Amended Complaint has been prepared with one of the font and

point selections set forth in N.D. Ga. Local Rule 5.1B.

      This 3rd day of July, 2018.

                                      /s/ Michael A. Boutros
                                      Jeffrey D. Horst
                                      Georgia Bar No. 367834
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                                      Georgia Bar No. 955802
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                                         19
       Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 20 of 21




                         CERTIFICATE OF SERVICE

      This is to certify that I have this day filed the foregoing Defendant Mattress

Firm, Inc.’s Answer and Defenses to Amended Complaint by using the Court's

CM/ECF filing system which will automatically send service copies to counsel of

record as follows:

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                                         20
      Case 1:18-cv-01236-ODE Document 26 Filed 07/03/18 Page 21 of 21




      Respectfully submitted this 3rd day of July, 2018.

                                      /s/ Michael A. Boutros
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                                        21
